         Case 2:21-cv-00968-JHE Document 9 Filed 09/10/21 Page 1 of 2                      FILED
                                                                                  2021 Sep-10 AM 09:29
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

D’WANNA WILLIAMS,
an individual,

      Plaintiff,
                                              CASE NO: 2:21-CV-00968-JHE
vs.

NISA, INC.,

     Defendant.
__________________________________/


                   PLAINTIFF’S NOTICE OF SETTLEMENT

      Comes now, Plaintiff, D’Wanna Williams, by and through undersigned

counsel, and advises the Court that the parties have reach reached a settlement of all

disputed issues and are in the process of circulating settlement documents for

execution. Plaintiff will file a voluntary notice of dismissal with prejudice with the

Court within the next 30 days.

      Dated this 10th day of September, 2021.



                                        Respectfully submitted,

                                       By: /s/ Edward I. Zwilling
                                       Edward I. Zwilling, Esq.
                                       Alabama State Bar No.: ASB-1564-L54E

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         Case 2:21-cv-00968-JHE Document 9 Filed 09/10/21 Page 2 of 2




OF COUNSEL:

Law Office of Edward I. Zwilling, LLC
4000 Eagle Point Corporate Dr.
Birmingham, Alabama 35242
Telephone: (205) 822-2701
Email:      edwardzwilling@zwillinglaw.com


                          CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on September 10, 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to each registered participant.


                                               s/ Edward I. Zwilling
                                               OF COUNSEL




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